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                                    No. 23-10326

 In the United States Court of Appeals for the Fifth Circuit
                                  _____________

 Braidwood Management, Incorporated; John Scott Kelley;
 Kelley Orthodontics; Ashley Maxwell; Zach Maxwell; Joel
                         Starnes,
                                                 Plaintiffs-Appellees/Cross-Appellants,
                                          v.
  Xavier Becerra, Secretary, U.S. Department of Health and
    Human Services, in his official capacity as Secretary of
 Health and Human Services; United States of America; Janet
Yellen, Secretary, U.S. Department of Treasury, in her official
   capacity as Secretary of the Treasury; Julie A. Su, Acting
 Secretary, U.S. Department of Labor, in her official capacity
                    as Secretary of Labor,
                                           Defendants-Appellants/Cross-Appellees.
                                  _____________

                 On Appeal from the United States District Court
                       for the Western District of Texas
                          Case No. 4:20-cv-00283-O
                              _____________

Joint Report On Possible Agreement Of The Parties To
       Terms Of A Partial Stay Pending Appeal
                                  _____________

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   The parties met and conferred immediately after oral argument on Tuesday,

June 6, 2023, and discussed the framework of an agreement in which the plaintiffs

would acquiesce to a partial stay of the district court’s judgment pending appeal in

exchange for the defendants’ commitment not to seek penalties against the named
plaintiffs for actions taken on the basis of Judge O’Connor’s injunction and judg-

ment, even if the judgment is later vacated or reversed on appeal. Although the

agreement remains subject to approval, the parties hope to submit a stipulation
along these lines to the Court by Tuesday, June 13, 2023.



                                       Respectfully submitted.

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                           and type-style requirements

1.    This brief complies with the type-volume limitation of Fed. R. App. P.
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                                              /s/ Jonathan F. Mitchell
                                             Jonathan F. Mitchell
Dated: June 9, 2023                          Counsel for Plaintiffs-Appellees




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5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
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